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                   IN THE UNITED STATES DISTRICT COURT
          FOR THE SOUTHERN DISTRICT OF TEXAS, HOUSTON DIVISION

                                               )
 RUSSELL, et al.                               )
                                               )
 Plaintiffs,                                   )
                                               )              Case No. 4:19-cv-00226
 v.                                            )                  (Class Action)
                                               )          The Honorable Lee H. Rosenthal
 HARRIS COUNTY, TEXAS, et al.                  )                U.S. District Judge
                                               )
 Defendants.                                   )
                                               )

               PLAINTIFFS’ RULE 41(a)(2) MOTION FOR DISMISSAL OF THE
                 CRIMINAL DISTRICT COURT JUDGES AS DEFENDANTS

        Plaintiffs have agreed to voluntarily dismiss with prejudice the 23 Felony Judges as

Defendants to this lawsuit in exchange for the Judges who appealed dismissing their appeal, which

is currently pending in the Fifth Circuit. See Dkt. 327 (Felony Judges’ Notice of Appeal). Rule 41

is the appropriate procedural vehicle for seeking dismissal of the Judges. Rule 41 sets the

parameters for “Dismissal of Actions.” Fed. R. Civ. P. 41. In the Fifth Circuit, the word “action”

has been interpreted to “cover individual defendants—thus allowing plaintiffs . . . to use Rule 41(a)

to dismiss individual defendants.” See Williams v. Seidenbach, 958 F.3d 341, 345 (5th Cir. 2020)

(en banc). Subsection (a)(2) permits a plaintiff to seek dismissal of a defendant “[b]y [c]ourt

[o]rder.” Fed. R. Civ. P. 41(a)(2). Accordingly, Plaintiffs file this Motion pursuant to Rule

41(a)(2), seeking a court order dismissing the Felony Judges, but ask that, for the time being, the

Court not enter the Order until the Felony Judges have dismissed their appeal.

        The County, Sheriff, and Judges Cornelio, Gray, Lacayo, Silverman, and Warren are

unopposed to the motion. Undersigned counsel was unable to reach Judge Bell prior to filing.

When asked for their position, the 17 Judges who are represented by the Attorney General’s Office



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stated as follows: “The felony judges are not opposed to an ultimate dismissal in this case.

However, please do not make any representation that the felony judges have agreed to take any

specific action upon the filing of the Rule 41. As we’ve discussed briefly, there are still a few

outstanding questions as to the proper procedural vehicles before dismissal is granted including

possibly seeking a vacatur of Judge Rosenthal’s opinion.”


Date: January 20, 2021                              Respectfully Submitted,

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                                CERTIFICATE OF SERVICE

       I certify that on January 20, 2021 a true and correct copy of this document properly was

served on counsel of record via electronic filing in accordance with the USDC, Southern District

of Texas Procedures for Electronic Filing.


                                                   /s/ Elizabeth Rossi
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